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     UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
     - - - - - - - - - - - - - - - - - - - - x
     JANE DOE 1, individually and on
     behalf of all others similarly
     situated,
               Plaintiff,
                               Case No.
         -against-             1:22-cv-10019-JSR
     JPMORGAN Chase BANK NA,
               Defendants.
     - - - - - - - - - - - - - - - - - - - - x
     UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
     -----------------------------------------x
     GOVERNMENT OF THE UNITED STATES VIRGIN
     ISLANDS,
               Plaintiff
               Vs.
     JPMORGAN CHASE BANK, N.A.
     ---------------------------------------x
               C O N F I D E N T I A L
               Videotaped oral deposition of
          FRANCIS PEARN taken pursuant to notice,
          was held at BOIES SCHILLER FLEXNER LLP,
          commencing May 30, 2023, 9:34 a.m., on
          the above date, before Leslie Fagin, a
          Court Reporter and Notary Public in the
          State of New York.



                   MAGNA LEGAL SERVICES
                       (866) 624-6221
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 2               MR. BUTTS:       Objection.                    13:01:06

 3               You may answer as a 30(b)(1)                   13:01:07

 4         witness.                                             13:01:08

 5         A.    I didn't do anything particular to             13:01:08

 6   check for account statements.                              13:01:11

 7         Q.    We reviewed a number of documents              13:01:12

 8   that summarized Epstein's account transaction              13:01:15

 9   history.                                                   13:01:18

10               Did anything you reviewed either in            13:01:19

11   preparation or during today's deposition                   13:01:22

12   suggest to you that his use of his JPMC bank               13:01:24

13   accounts before 2003 would have been                       13:01:28

14   different than how he used his bank accounts               13:01:32

15   from 2003 onward?                                          13:01:34

16               MR. BUTTS:       Object to form.     Beyond    13:01:36

17         the scope.                                           13:01:36

18               You may answer as a 30(b)(1)                   13:01:40

19         witness if you are able.                             13:01:41

20         A.    I did not see anything that would              13:01:45

21   indicate they were used differently prior to               13:01:49

22   that period.                                               13:01:52

23         Q.    Was JPMorgan ever contacted in                 13:01:53

24   regards to any government investigation                    13:01:57

25   relating to Jeffrey Epstein?                               13:01:59
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 2               MR. BUTTS:      Objection.                     13:02:02

 3               You may answer as a 30(b)(1)                   13:02:06

 4         witness.                                             13:02:08

 5         A.    We received, in July of 2019, a                13:02:09

 6   subpoena from the Southern District of New                 13:02:16

 7   York regarding Jeffrey Epstein.                            13:02:20

 8         Q.    Anything before July of 2019?                  13:02:22

 9         A.    I do not believe so.                           13:02:26

10         Q.    From any agency?                               13:02:31

11         A.    That's correct.                                13:02:32

12         Q.    When did the investigation that                13:02:34

13   began in July 2019 end?                                    13:02:37

14               MR. BUTTS:      Objection.                     13:02:42

15               You may answer.                                13:02:42

16               You are talking about the Southern             13:02:44

17         District of New York investigation?                  13:02:47

18               MR. VILLACASTIN:       Yes.                    13:02:50

19               MR. BUTTS:      You may answer as a            13:02:51

20         30(b)(1) witness, if you are able.                   13:02:54

21         A.    We continued that investigation up             13:02:55

22   through September of 2019 --                               13:02:57

23               MR. BUTTS:      He is asking you about         13:03:02

24         the U.S. Attorney's investigation, when              13:03:03

25         did the U.S. Attorney's investigation                13:03:06
